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Onica Cox




United Parcel Service, Inc.




         Onica Cox




                     Halpern Legal Clinic, Aug 2021
                     Lowenthal and Abrams, P.C., Nov 2021
                     The Cochran Firm, April 2021
                     Ben Crump, May 2021
                     Ciccarelli Law Office, Nov 2021




                     American Bar Association, Sept 2021
                    Pennsylvania Bar Association, Sept 2021
                    Koller Law Firm, April 2021
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         United Parcel Service, Inc.
         1 Electronic Drive, Horsham, PA 19044




         Harassment, discrimination, & retaliation
         Title VII of the Civil Rights Act of 1964 & The Americans with Disability Act
         The Genertic Information Nondiscrimination Act & The Age Discrimination in Empl
         Equal Pay Act (EPA)




                                          Onica Cox

                                           November 18, 2021
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